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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


BCS Insurance Company,
                            Plaintiff,
                               v.                                           Civil Action No.      3:12-CV-933-JFA
Big Thyme Enterprises, Inc.; David A. Crotts
& Associates, Inc.; and David A. Crotts,
                          Defendants.


David A. Crotts & Associates, Inc. and
David A. Crotts,
                      Counter Claimants,

                               v.
BCS Insurance Company,
                      Counter Defendant.

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 the plaintiff (name)                   recover from the defendant (name)                the amount of             dollars ($    ),
which includes prejudgment interest at the rate of             %, plus postjudgment interest at the rate of       %, along with
costs.
 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                              .
O other: Summary Judgment is entered in favor of the plaintiff on its claims and against defendant Big Thyme
Enterprises, Inc. as to its counterclaims which are dismissed with prejudice. The court further orders that the
counterclaim asserted by defendants David A. Crotts & Associates, Inc. and David A. Crotts is dismissed without
prejudice.


This action was (check one):
 tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Joseph F. Anderson, Jr., United States District Judge, presiding, who granted summary
judgment in favor of the plaintiff.

Date: February 14, 2013                                                    CLERK OF COURT


                                                                                           s/Brian D. Shropshire
                                                                                     Signature of Clerk or Deputy Clerk
